952 F.2d 396
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David F. MOSTELLER, Plaintiff-Appellant,v.UNITED STATES of America;  U.S. Probation and Parole,Richmond, Virginia;  James Thornton, U.S.Probation Officer, Defendants-Appellees.
    No. 91-6657.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 5, 1991.Decided Dec. 30, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  (CA-91-530), Richard L. Williams, District Judge.
      David F. Mosteller, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, MURNAGHAN and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      David F. Mosteller appeals from the district court's order denying relief under  Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Mosteller v. United States, No. CA-91-530 (E.D.Va. Sept. 18, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    